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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

        David Finch and Ashley Finch,          )
                                               )
                                  Plaintiffs,  )
                                               )
            v.                                 )
                                               ) Case No.: 2:21-cv-2571
     Equifax Information Services LLC,         )
     Experian Information Solutions, Inc., and )
     21st Mortgage Corporation,                )
                                               )
                                  Defendants. )
   NOTICE OF SETTLEMENT AS TO EQUIFAX INFORMATION SERVICES, LLC

        NOTICE IS HEREBY PROVIDED that David Finch and Ashley Finch (“Plaintiffs”) and

Defendant Equifax Information Services, LLC (“Defendant Equifax”) have reached a settlement

in principle. Plaintiffs and Defendant Equifax anticipate needing approximately 60 days to

document and conclude the settlement. Plaintiffs will thereafter file a stipulation of dismissal or

otherwise move for a dismissal of Defendant Equifax. If the settlement is not concluded within the

next 60 days, Plaintiff will timely notify the Court.


Date:    May 26, 2022                                   Respectfully submitted,


                                                        /s/James R. Crump
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                                                        Ryan Callahan, KS 25363
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                                                      Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 26, 2022, a copy of the foregoing Notice of Settlement was
filed electronically. Notice of this filing will be sent to the following parties via electronic mail
on the same date as filing via the Court’s cm/ecf filing system.

       Equifax Information Services, LLC
       c/o Guillermo Gabriel Zorogastua – gzorogastua@polsinelli.com

       21st Mortgage Corporation
       c/o Michele O’Malley – momalley@sandbergphoenix.com

       Experian Information Solutions, Inc.
       c/o G. Edgar James – ejames@jamessobba.com
       Lawrence E. Nordling – lnordling@jamessobba.com

       Experian Information Solutions, Inc.
       c/o Katherine Smith – katherinesmith@jonesday.com

                                                      By: /s/ James Crump
                                                      James Crump, Attorney for Plaintiff
